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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 AMERICAN ASSOCIATION OF
 PHYSICIANS FOR HUMAN RIGHTS, INC.
 d/b/a GLMA: HEALTH PROFESSIONALS
 ADVANCING LGBTQ+ EQUALITY, et al.,

                  Plaintiffs,

           v.                                              Civ. A. No. 25-cv-1620-LKG

 NATIONAL INSTITUTES OF HEALTH, et
 al.,

                  Defendants.


                     RESPONSE IN NON-OPPOSITION TO PLAINTIFFS’
                       MOTION TO PROCEED UNDER PSEUDONYM

          Defendants hereby file this Response in Non-Opposition to Plaintiffs’ Motion to Proceed

Under Pseudonym (ECF No. 17, and hereinafter the “Motion”), and state as follows:

          1.     Plaintiffs filed this lawsuit on May 20, 2025. ECF No. 1. The next day, Plaintiffs

filed the Motion, seeking leave for several plaintiffs and other individuals to proceed in this case

under pseudonyms, as well as leave to omit Plaintiffs’ addresses from the Court’s docket. ECF

No. 17.

          2.     On May 22, 2025, the Court entered a Scheduling Order requiring, inter alia, that

Defendants file their response to the Motion on or before June 11, 2025. ECF No. 60. This

deadline was subsequently extended to June 13, 2025 by Order dated June 6, 2025.

          3.     On June 5, 2025, counsel for the parties met and conferred regarding the Motion.

Following this discussion, Plaintiffs’ counsel prepared a template for Defendants to use when

disclosing information that the Motion seeks to protect.
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       4.     With the benefit of this template, Defendants do not oppose the relief requested in

the Motion.

       WHEREFORE, Defendants do not oppose the entry of the Proposed Order attached to the

Motion.



                                                    Respectfully submitted,

                                                    KELLY O. HAYES
                                                    United States Attorney

                                                            /s/
                                                    Michael J. Wilson (Bar No: 18970)
                                                    Assistant United States Attorney
                                                    U.S. Attorney’s Office
                                                    District of Maryland
                                                    36 S. Charles Street, 4th Floor
                                                    Baltimore, Maryland 21201
                                                    (410) 209-4941
                                                    Michael.Wilson4@usdoj.gov


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 11, 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF System, which will send notice of such filing to all counsel.



                                                          /s/
                                                    Michael J. Wilson




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